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                             UNITED STATES DEPARTMENT OF JUSTICE
                           EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                               CHELMSFORD IMMIGRATION COURT

Respondent Name:                                         A-Number:
      OLIVEIRA GOMES, CLEBERSON                          226-040-357
                                                         Riders:
To:
                                                         In Custody Redetermination Proceedings
      Chaput, Melanie Marie
      46 Bridge Street, Unit G                           Date:
      Nashua, NH 03060                                   06/12/2025



                           ORDER OF THE IMMIGRATION JUDGE


      The respondent requested a custody redetermination pursuant to 8 C.F.R. § 1236. After full consideration of
      the evidence presented, the respondent’s request for a change in custody status is hereby ordered:

             ✓    Denied, because
                 Per Matter of Q. Li, Respondent not eligible for bond.



                  Granted. It is ordered that Respondent be:
                      released from custody on his own recognizance.
                      released from custody under bond of $
                      other:



                  Other:
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                                                   Immigration Judge: OSTROM, DONALD 06/12/2025

Appeal:    Department of Homeland Security: ✓       waived          reserved
           Respondent:                              waived      ✓   reserved
Appeal Due:07/14/2025


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Respondent Name : OLIVEIRA GOMES, CLEBERSON | A-Number : 226-040-357
Riders:
Date: 06/12/2025 By: OSTROM, DONALD, Immigration Judge
